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 1                                                          HONORABLE RONALD B. LEIGHTON
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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 8
     United States of America,                              No. 12-cr-5039-RBL
 9
                                   Plaintiff,               ORDER DENYING MOTION FOR
10
                                                            APPROVAL OF EXPENSES
11
            v.
                                                            (Dkt. #223)
12   Kenneth Wayne Leaming,

13                                 Defendant.

14

15       Defendant’s Motion for Approval of Expenses [Dkt. #223] is DENIED.
16

17       Dated this 17th day of April 2013.
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21                                     RONALD B. LEIGHTON
                                       UNITED STATES DISTRICT JUDGE
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                                                Order - 1
